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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: 2:09-cr-00193 KJM
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,               ) STATUS CONFERENCE
10                                       )
          vs.                            ) Court: Hon. Kimberly Mueller
11                                       ) Time:   10:00 a.m.
                                         ) Date:   May 19, 2011
12   Leslie Miller Bell Jr.,             )
                                         )
13              Defendant
14

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17        Defendant Leslie Bell Jr., by and through his undersigned
18   counsel, and the United States of America, by and through Assistant
19   United States Attorney, Jill Thomas, request that this matter be
20   continued for a status conference to July 7, 2011 and that date is
21   available with the court.   Mr. Bell is charged in an indictment
22   alleging three counts of violations of 21 U.S.C. §§s 841(a)(1) –
23   Possession of Cocaine Base with Intent to Distribute.     A status
24   conference was previously set for May 19, 2011 and the parties
25   requested a pre-plea pre-sentence report.    That report has now been
26   completed and it finds that Mr. Bell is a career offender with a 294
27   month sentence recommendation, nearly 25 years.     The parties are in
28   negotiations about a possible resolution of this matter.




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 1      The parties continue to be involved in defense investigation, as

 2   well as negotiations and all parties request that the current status

 3   conference be continued to July 7, 2011, and that date is available

 4   with the Court.

 5        The parties agree that time should be excluded under 18 U.S.C. §

 6   3161(h)(8)(i) for defense preparation and under local code T4.

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 8
     Dated: May 16, 2011           Respectfully submitted,
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11
                                         __/s/ Shari Rusk___
                                         Shari Rusk
12                                       Attorney for Defendant
                                         Leslie Bell
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14
                                          /s/ Jill Thomas
15                                       Jill Thomas
                                         Assistant United States Attorney
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19                                       ORDER

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21        IT IS SO ORDERED.     The status conference set for May 19, 2011 is

22   RESET for July 7, 2011.     The Court finds excludable time through July

23   7, 2011, based on Local Code T4, giving counsel reasonable time to

24   prepare.

25   DATED:     May 17, 2011.

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27
                                          UNITED STATES DISTRICT JUDGE
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